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                             THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH

  RUSSELL GREER,                                    Addendum to Motion for Sanctions
         Plaintiff,
  v.                                                Case No. 2:24-cv-00421-DBB


  JOSHUA MOON, et al.                               District Judge David Barlow
                                                    Magistrate Judge Jared C. Bennett
         Defendants.

        NOW COME the Defendants, by and through undersigned counsel, and file

 Addendum to their Motion for Sanctions which is filed contemporaneously herewith. At

 the time Defendants served their Motion for Sanctions on January 29, 2025, pursuant to

 Fed. R. Civ. P. 11, Mr. Greer had not yet disclosed the death of Steve Taylor. Therefore,

 certain of the statements in the Defendants’ Motion for Sanctions do not fully express the

 current state of affairs.

        Mr. Taylor’s death, which apparently took place in January 2024, ECF No. 225 at

 22, occurred approximately four months before the Plaintiff declared Mr. Taylor was both

 “real” and “eager” to testify, ECF No. 123 at 15, and was only disclosed to Defendants on

 over a year later, following months of unsuccessful efforts to obtain proper initial

 disclosures from Mr. Greer, on February 23, 2025. ECF No. 225. This led Defendants to

 withdraw an earlier request for an inference relating to Mr. Taylor and his anticipated

 testimony. ECF No. 226 (stating that the news relating to Mr. Taylor’s demise contradicts

 numerous prior statements made by Plaintiff and that sanctions were the appropriate
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 remedy rather than an adverse inference).

            DATED February 20, 2025

                                        HARDIN LAW OFFICE

                                        /s/ Matthew D. Hardin
                                        Matthew D. Hardin
                                        Attorney for Defendants
